            Case 1:18-cv-00461-GLR Document 30 Filed 04/30/19 Page 1 of 5



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

JEFF HULBERT, et al.                                 *

                       Plaintiffs                    *

       v.                                            *           Civil Action No. GLR-18-461

SGT. BRIAN T. POPE, et al.                           *

                       Defendants                    *

                                                 ******

                             AMENDED SCHEDULING ORDER

 This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries concerning
the schedule should be directed to my chambers, not to the Clerk's Office. Any party who
believes that any deadline set forth in this Scheduling Order is unreasonable may request in
writing a modification of the Order or that a conference be held for the purpose of seeking a
modification of the Order, and any such request must be made on or before the first date set forth
in Paragraph I below. Thereafter, the schedule will not be changed except for good cause.

 This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing system
for filing documents with the Clerk and sending case related correspondence to chambers.
When you electronically file a document that, including attachments, is 15 pages or longer,
you also must provide a paper copy of the document and a paper copy of the notice of
electronic filing. The paper copy should be sent to the Clerk’s Office, not directly to my
chambers.

                                        I.        DEADLINES


       May 31, 2019:                         Moving for joinder of additional parties and
                                             amendment of pleadings

       Thirty days after the Court’s
       ruling on dispositive motions:        Plaintiff’s Rule 26(a)(2) disclosures

       Sixty days after the Court’s
       ruling on dispositive motions:        Defendant’s Rule 26(a)(2) disclosures



                                                     1
          Case 1:18-cv-00461-GLR Document 30 Filed 04/30/19 Page 2 of 5



       Fourteen days after Defendants’
       Rule 26(a)(2) disclosure filings: Plaintiff’s rebuttal Rule 26(a)(2) disclosures


       August 5, 2019:                   Rule 26(e)(2) supplementation of disclosures and
                                         responses

       August 29, 2019:                  Factual discovery deadline; submission of status
                                         report

       September 5, 2019:                Requests for admission

       October 10, 2019:                 Dispositive pretrial motions deadline


                                        II. DISCOVERY

Initial Disclosures

This is an action in which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.


Discovery Conference
 This action is exempted from the requirements of Fed. R. Civ. P. 26(d)(1) and from Fed. R. Civ.
P. 26(f). However, you are encouraged to confer with one another immediately in order to: (a)
identify the issue(s), (b) set a discovery plan, (c) determine if the case can be resolved before
your clients incur further litigation expense, (d) discuss any issues about preserving discoverable
information, and (e) establish a cordial professional relationship among yourselves.


Procedure

       All the provisions of Local Rule 104 apply, including the following:

a.     All discovery requests must be served in time to assure that they are answered before the
       discovery deadline. An extension of the deadline will not be granted because of
       unanswered discovery requests.

b.     The existence of a discovery dispute as to one matter does not justify delay in taking any
       other discovery. The filing of a motion to compel or a motion for a protective order will
       not result in a general extension of the discovery deadline.

c.     No discovery materials, including Rule 26(a)(2) disclosures, should be filed with the
       court.

                                                 2
          Case 1:18-cv-00461-GLR Document 30 Filed 04/30/19 Page 3 of 5




d.     Motions to compel shall be filed in accordance with Local Rule 104.8 and applicable
       CM/ECF procedures.

e.     Please be familiar with the Discovery Guidelines of this Court which are Appendix A to
       the Local Rules. Appendix D contains guidelines for form discovery requests and
       confidentiality orders that may be helpful to you.


Deposition Hours

Each side shall be limited to 40 hours of depositions of fact witnesses (including parties). If
there are two or more parties on a particular side, they must share the deposition time allotted to
their side. Any colloquy engaged in by counsel shall be counted against his/her client's
deposition time.

Expert Discovery

The parties have agreed to defer expert discovery until after the resolution of any dispositive
motions that are filed.



                                     III. STATUS REPORT

The parties shall file on the day of the discovery deadline a status report covering the following
matters:

a.     Whether discovery has been completed;

b.     Whether any motions are pending;

c.     Whether any party intends to file a dispositive pretrial motion;



d.     Whether the case is to be tried jury or non-jury and the anticipated length of trial;

e.     A certification that the parties have met to conduct serious settlement negotiations; and
       the date, time and place of the meeting and the names of all persons participating therein;

f.     Whether each party believes it would be helpful to refer this case to another
       judge of this court for a settlement or other ADR conference, either before or after the
       resolution of any dispositive pretrial motion;



                                                 3
          Case 1:18-cv-00461-GLR Document 30 Filed 04/30/19 Page 4 of 5



g.     Whether all parties consent, pursuant to 28 U.S.C. § 636(c), to have a U.S. Magistrate
       Judge conduct all further proceedings in this case, either before or after the resolution of
       any dispositive pretrial motion, including trial (jury or non-jury) and entry of final
       judgment.

h.     Any other matter which you believe should be brought to the court's attention.


                            IV. DISPOSITIVE PRETRIAL MOTIONS

 If more than one party intends to file a summary judgment motion, the provisions of Local Rule
105.2.c apply.

 After motions and responses thereto have been filed, I will advise you if a hearing is to be
scheduled.


                        V. STATUS AND PRETRIAL CONFERENCES

 I will set a scheduling conference after the status report has been filed, unless that report
indicates that one or more of you intends to file a dispositive pretrial motion. In the latter event I
will not set a scheduling conference until after I have ruled upon the motion (or the dispositive
pretrial motion deadline passes without the anticipated motion being filed).

       At the scheduling conference:

a.     I will set a deadline for submitting the pretrial order, motions in limine, proposed voir
       dire questions and proposed jury instructions;

b.     I will set a pretrial conference date and a trial date; and

c.     I will ask you whether a settlement or other ADR conference with a judicial officer
       would be useful, and whether all parties would consent to trial (jury or nonjury) before a
       U.S. Magistrate Judge. Please confer with your client about these matters before the
       conference so that you are in a position to respond.




                                     VI. ATTORNEYS’ FEES

 In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Attorneys’ Fees in Certain Cases which are Appendix B to the Local Rules.


                                                  4
         Case 1:18-cv-00461-GLR Document 30 Filed 04/30/19 Page 5 of 5




         VII. COMPLIANCE WITH LOCAL RULES AND CM/ECF PROCEDURES

The court will demand compliance with the Local Rules and CM/ECF procedures. If you need
to obtain a copy of the Local Rules or the CM/ECF procedures, they are available on our website
at www.mdd.uscourts.gov.



                VIII. COMPLIANCE WITH PRIVACY PROTECTION RULE

 Counsel are reminded that the Federal Rules of Civil Procedure were amended, effective
December 1, 2007, with the addition of a new Rule 5.2 which has detailed requirements
requiring the redaction of filings with this court that contain an individual's social security
number, tax payer identification number, or birth date, the name of an individual known to be a
minor, or a financial account number. It is essential that counsel comply with this rule and with
the revised version of the Judicial Conference Privacy Policy adopted in March 2008. For
further information on the Judicial Conference Privacy Policy see:
http://www.mdd.uscourts.gov/news/news/privacy_memo.pdf.


May __, 2019
                                             ________________________________
                                             George L. Russell, III
                                             United States District Judge




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